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 2   Christopher K.L. Young (State Bar No. 318371)
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     [Additional Counsel Listed on Signature Page]
12
                                   UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14                                    SAN FRANCISCO DIVISION
15   SARAH ANDERSEN, KELLY MCKERNAN,                    Case No. 3:23-cv-00201-WHO
     KARLA ORTIZ, H. SOUTHWORTH PKA
16   HAWKE SOUTHWORTH, GRZEGORZ                         JOINT STIPULATED REQUEST AND
     RUTKOWSKI, GREGORY MANCHESS,                       [PROPOSED] ORDER CHANGING TIME
17   GERALD BROM, JINGNA ZHANG, JULIA                   FOR DEVIANTART’S MOTION TO
     KAYE, ADAM ELLIS,                                  RENEW ITS SPECIAL MOTION TO
18                                                      STRIKE
                       Individual and Representative
19                                        Plaintiffs,
20          v.
21   STABILITY AI LTD., STABILITY AI, INC.,
     DEVIANTART, INC., MIDJOURNEY, INC.,
22   RUNWAY AI, INC.,
23               Defendants.
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30    Case No. 3:23-cv-00201-WHO
     JOINT STIPULATED REQUEST AND [PROPOSED] ORDER CHANGING TIME FOR DEVIANTART’S MOTION
31                               TO RENEW ITS SPECIAL MOTION TO STRIKE
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 1          Pursuant to Civil Local Rule 6-2(a), the undersigned Parties to the above-captioned action, by

 2   and through their respective undersigned counsel, hereby agree and stipulate as follows:

 3          WHEREAS, on November 29, 2023, Plaintiffs Sarah Andersen, Kelly McKernan, Karla Ortiz,

 4   H. Southworth Pka Hawke Southworth, Grzegorz Rutkowski, Gregory Manchess, Gerald Brom,

 5   Jingna Zhang, Julia Kaye, and Adam Ellis filed a First Amended Complaint (ECF No. 129);

 6          WHEREAS, on December 20, 2023, DeviantArt, Inc. (“DeviantArt”) filed a Motion to Renew

 7   its Special Motion to Strike Under California Code of Civil Procedure section 425.16 (“Motion”)

 8   (ECF No. 136);

 9          WHEREAS, at present, the briefing schedule for responding to the Motion requires

10   Oppositions to be due by January 3, 2024; Replies due by January 10, 2024; and Motion Hearing set

11   for January 24, 2024;

12          WHEREAS, due to the intervening holidays and office closures, the Parties agreed to extend

13   dates to respond by one week (seven days): Plaintiffs’ deadline to respond to the Motion shall be

14   January 10, 2024; DeviantArt’s deadline to file a reply brief in support of the Motion shall be January

15   17, 2024; a hearing on the Motion shall be held on February 7, 2024 (or the next earliest date

16   convenient for the Court and Parties) (Declaration of Christopher K.L. Young (“Young Decl.”), ¶ 2.);

17   and

18          WHEREAS, the requested time modification will not have any material impact on the schedule

19   for the Action (Young Decl., ¶ 4);

20          IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs and Defendant

21   DeviantArt, as represented by their undersigned counsel, subject to the approval of the court, that the

22   briefing schedule for DeviantArt’s Motion is revised as follows:

23              1. The deadline for Oppositions to the Motion shall be extended to January 10, 2024.

24              2. Replies to the Motion shall be due on January 17, 2024.

25              3. A hearing on the Motion shall be held on February 7, 2024 (or the next earliest date

26                  convenient for the Court and Parties).

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             Case 3:23-cv-00201-WHO Document 137 Filed 12/26/23 Page 3 of 6




 1                                         [PROPOSED] ORDER

 2          The above Stipulation of the Parties is hereby approved. It is HEREBY ORDERED that the

 3   briefing schedule for DeviantArt’s Motion to Renew its Special Motion to Strike Under California

 4   Code of Civil Procedure section 425.16 (ECF No. 136; the “Motion”) is revised as follows:

 5      •   January 10, 2024 for Oppositions to the Motion

 6      •   January 17, 2024 for Replies to the Motion

 7      •   February 7, 2024 for hearing on the Motion

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 9   Dated: _________, 2023
                                                   HON. WILLIAM H. ORRICK
10                                                 UNITED STATES DISTRICT JUDGE
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      Case No. 3:23-cv-00201-WHO                    2
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                                 TO RENEW ITS SPECIAL MOTION TO STRIKE
31
            Case 3:23-cv-00201-WHO Document 137 Filed 12/26/23 Page 4 of 6




 1   Dated: December 26, 2023                      /s/ Christopher K.L. Young
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23                                          Plaintiffs and the Proposed Class
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      Case No. 3:23-cv-00201-WHO                    3
30    JOINT STIPULATED REQUEST AND [PROPOSED] ORDER CHANGING TIME FOR DEVIANTART’S MOTION
                                 TO RENEW ITS SPECIAL MOTION TO STRIKE
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            Case 3:23-cv-00201-WHO Document 137 Filed 12/26/23 Page 5 of 6




     Dated: December 26, 2023                       /s/ Brittany N. Lovejoy
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30    JOINT STIPULATED REQUEST AND [PROPOSED] ORDER CHANGING TIME FOR DEVIANTART’S MOTION
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 1                                      SIGNATURE ATTESTATION

 2          Pursuant to Local Rule 5-1(h)(3), I attest under penalty of perjury that concurrence in the filing

 3   of this document has been obtained from any other signatory to this document.

 4   Dated: December 26, 2023                        By:          /s/ Christopher K.L. Young
                                                                   Christopher K.L. Young
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